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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                    Debtors.1                          (Jointly Administered)
                                                              Hearing Date: January 8, 2024, at 10:00 a.m. (ET)
                                                       Objection Deadline: December 22, 2023 at 4:00 p.m. (ET)

    NOTICE OF DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) EXTENDING
     THE DEBTORS’ EXCLUSIVE PERIODS TO FILE A CHAPTER 11 PLAN AND
        SOLICIT ACCEPTANCES THEREOF PURSUANT TO SECTION 1121
       OF THE BANKRUPTCY CODE AND (II) GRANTING RELATED RELIEF

          PLEASE TAKE NOTICE that, on December 7, 2023, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of an Order

(I) Extending the Debtors’ Exclusive Periods to File a Chapter 11 Plan and Solicit Acceptances

Thereof Pursuant to Section 1121 of the Bankruptcy Code and (II) Granting Related Relief (the

“Motion”) with the United States Bankruptcy Court for the District of Delaware (the “Court”).

          PLEASE TAKE FURTHER NOTICE that any responses to the Motion must be in

writing and filed with the Clerk of the United States Bankruptcy Court for the District of Delaware,

824 Market Street, Third Floor, Wilmington, Delaware 19801, and served upon the undersigned,

so as to be received on or before 4:00 p.m. (prevailing Eastern Time) on December 22, 2023.

          PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy

of the response or objection upon: (a) the Office of the U.S. Trustee for the District of Delaware,

844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware, 19801, Attn: John Schanne,



1    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.



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Esq. (John.Schanne@usdoj.gov); (b) counsel to the Debtors, Pachulski Stang Ziehl & Jones LLP,

919 N. Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801),

Attn: James E. O’Neill (joneill@pszjlaw.com), Jason H. Rosell (jrosell@pszjlaw.com), and

Steven W. Golden (sgolden@pszjlaw.com); (c) counsel to the Official Committee of Unsecured

Creditors, (i) White & Case LLP, 111 South Wacker Drive, Suite 5100, Chicago, IL 60606, Attn:

Gregory F. Pesce, Esq. (gregory.pesce@whitecase.com) and Andrew F. O’Neill, Esq.

(aoneill@whitecase.com), and (ii) White & Case LLP, 1221 Avenue of the Americas, New York,

NY 10020, Attn: John Ramirez, Esq. (john.ramirez@whitecase.com) and Andrea Kropp, Esq.

(andrea.kropp@whitecase.com); (d) co-counsel to the Official Committee of Unsecured Creditors,

Potter Anderson & Corroon LLP, 1313 North Market Street, 6th Floor, Wilmington, DE 19801,

Attn:      Christopher          M.   Samis   (csamis@potteranderson.com),    Katelin   A.   Morales

(kmorales@potteranderson.com), and Sameen Rizvi, Esq. (srizvi@potteranderson.com);

(e) counsel to the DIP Lenders, DIP Agent, and the Foris Prepetition Secured Lenders, Goodwin

Procter LLP, 620 Eighth Avenue, New York, NY 10018, Attn: Michael H. Goldstein, Esq.

(mgoldstein@goodwinlaw.com) and Alexander J. Nicas, Esq. (anicas@goodwinlaw.com); (f) co-

counsel to the DIP Lenders, the DIP Agent, and the Foris Prepetition Secured Lenders, Troutman

Pepper Hamilton Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market Street, P.O. Box 1709,

Wilmington, DE 19899, Attn: David M. Fournier, Esq. (david.fournier@troutman.com); and (g)

any party that requests service pursuant to Bankruptcy Rule 2002.

          PLEASE TAKE FURTHER NOTICE THAT IF AN OBJECTION IS PROPERLY

FILED AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, A HEARING

WILL BE HELD ON January 8, 2024 AT 10:00 A.M. (PREVAILING EASTERN TIME)

BEFORE THE HONORABLE THOMAS M. HORAN, UNITED STATES BANKRUPTCY



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JUDGE FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET, THIRD FLOOR,

WILMINGTON, DELAWARE 19801.             ONLY OBJECTIONS MADE IN WRITING AND

TIMELY FILED WILL BE CONSIDERED BY THE BANKRUPTCY COURT AT SUCH

HEARING.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT

MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE

OR HEARING.

 Dated: December 7, 2023                    PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ James E. O’Neill
                                            Richard M. Pachulski (admitted pro hac vice)
                                            Debra I. Grassgreen (admitted pro hac vice)
                                            James E. O’Neill (DE Bar No. 4042)
                                            Jason H. Rosell (admitted pro hac vice)
                                            Steven W. Golden (DE Bar No. 6807)
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                                            Counsel to the Debtors and Debtors in Possession




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